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                             UNITED STATED DISTRICT COURTY
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 9:22-mc-80139-AMC


  UNITED STATES OF AMERICA,

                 Claimant,

  vs.

  BOCA VIEW CONDOMINIUM
  ASSOCIATION, INC., et. al.,

              Respondents.
  __________________________________/

                             MOTION FOR RECONSIDERATION

         Respondent, BOCA VIEW CONDOMINIUM ASSOCIATION, INC., ("Association"),

  DIANA KUKA ("President"), ROSE WATKINS, ("Administrator"), POINT MANAGEMENT

  GROUP, INC., ("Pointe Management") and ERIC ESTEBANEZ ("Manager") (hereinafter

  collectively "Respondents"), by and through undersigned counsel, move this court for

  reconsideration of the Court's Order of March 16, 2023, and in support state as follows:

                                    Motion for Reconsideration

         1.      This court on March 16, 2023, entered an Order Accepting Magistrate Judge's

  Report and Recommendation.[ECF 19].

         2.      This Court has inherent authority and discretion to reconsider non-final Orders of

  this nature. McGuire v. Murphy, 285 F. Supp. 3d 1272 (M.D. Ala. 2018); Sussman v. Salem, Saxon

  & Nelson, P.A., 153 F.R.D. 689 (M.D. Fla. 1994): Monroe Country Employees Retirement System

  v. Southern Company, 333 F. Supp. 3d 1315 (N.D. Ga. 2018); Bender v. Tropic Star Seafood, Inc.,

  2008 WL 2824450 (N.D. Fla. 2008).
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         3.      The Court, in Footnote 2, stated that, "No party disputes that COVID-19 can

  constitute a 'physical or mental impairment which substantially limits one or more of such person's

  major life activities.'" This footnote, respectfully, misapprehends the Respondents' arguments,

  which clearly challenged that there was any disabled person or persons asserted in this case.[ECF

  11]

         4.      Because the definitions of a "disability" under the Americans with Disabilities Act

  ("ADA") and the Fair Housing Act ("FHA"), courts have applied the same standards to each in

  terms of Covid. Compare, 42 U.S.C. §12102(1) and 42 U.S.C. §3602(h). If a complainant fails to

  preliminarily allege a specific Handicap in the form of “a physical or mental impairment that

  substantially limits one or more of such person’s major life activities” or another s/he may be

  associated with, then, how can said complainant allege “being regarded as having such an

  impairment”?

         5.      Furthermore, courts who have looked at this issue have often held that mere Covid-

  19 did not meet the test of a disability or handicap under Federal law. See body of various recent

  Federal decisions, some also entered after the hearing held before this Honorable Court on April

  20, 2022 [ECFs 12-14] and subsequent briefs filed by the Parties on April 27, 2022 and May 2,

  2022 [ECFs 15-17], e.g., Rice v. Guardian Asset Management, 2022 WL 1763816 (11th Cir. June

  1, 2022) (affirming dismissal of ADA complaint for employee who asserted she was regarded as

  disabled due to Covid-19 exposure and was denied accommodation of working from home);

  McKnight v. Renasant Bank, 2022 WL 1342649 (N.D. Miss. May 2, 2022)(holding that employee

  who contracted Covid-19 and was hospitalized for 5 days did not allege a disability under the

  ADA); Griffin-Thomas v. La Rabida Children's Hospital, 2022 WL 103705 (N.D. Ill.

  2022)(dismissal of claim under ADA where employee failed to allege what accommodation for



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  her Covid-19 symptoms would be reasonable); Alvarado v. Valcap Group, LLC, 2022 WL 19686

  (N.D. Tex. 2022)(because plaintiff did not allege that Covid-19 exposure was not transitory and

  minor ADA claim was dismissed).

         6.       In Champion v. Mannington Mills, Inc., 538 F.Supp.3d 1344 (M.D. Ga. 2021), an

  employee alleged an ADA discrimination complaint because she was terminated after she had been

  in contact with her brother, who had Covid-19, but continued to come to work and did not disclose

  the exposure. Id. at 1345-46. The court began its analysis by stating that Covid-19, by itself, was

  not a disability as a matter of law. Id. at 1348. The court noted that the plaintiff had failed to plead

  how Covid-19 substantially limited any of her brother's life activities, and that missing several

  days of work did not raise Covid-19 to the level of a disability. Id. at 1349-50. Thus, the court

  dismissed the complaint. Id. at 1350. The Court reasoned that the employee could not maintain

  "regarded as" claim against employer that sent her home due to COVID-19 because that "would

  mean that every person in the United States who was . . . sent home upon feeling sick during th[e]

  pandemic . . . would be disabled for purposes of the ADA". Here too, the prospective tenant nurse

  may create a precedent according to which any nurse, health care professional, or even any other

  person in the United States who comes in contact at his/her workplace with someone feeling sick

  during the COVID-19 pandemic would also be disabled for purposes of the FHA.

         7.       Likewise, in Toney v. Alabama A&M University, 2023 WL 1973203 (N.D. Ala.

  February 13, 2023), a university employee alleged “that the University fired her "because it

  perceived her as being permanently impaired by or afflicted with COVID-19." (Doc. 32 at

  21).”(emphasis added) The court, in granting the motion to dismiss, found that because the

  plaintiff had only suffered Covid symptoms for 3 weeks, Covid was "minor and transitory" and

  could not be considered a disability.



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            8.     Here, the Petitioner, in the Petition (DE 1) does not allege any of the relevant

  elements to establish that Covid-19 in this case would meet the statutory definition of a handicap

  under the FHA. Further, there is nothing in the allegation of the Petition that would show how

  the particular individuals to whom the prospective tenant nurse, Piraino, was allegedly exposed

  suffered Covid-19 symptoms in a way that was not minor and transitory. Therefore, the

  Respondent has failed to show a legitimate purpose for the instant subpoenas.

            9.     As such, the Court should deny the petition to enforce the subpoenas.

            WHEREFORE, Respondents respectfully request that this Court grant reconsideration of

  the Court's March 16, 2023, Order [DE 19] and grant any other relief this Court deems just and

  proper.

            Dated May 5, 2023

                                               Respectfully submitted,


                                               /s/ John R. Sheppard, Jr.
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                        CERTIFICATE OF CONFERRAL CONFERENCE

            Pursuant to Local Rule 7.1(a)(3), counsel for Respondents attempted to confer with

  Claimant's counsel (Veronica Vanessa Harrell-James, Esq.) by email on May 5, 2023, at 12:59

  p.m. but was unable to confer with that attorney.                                .

                                                 /s/ John R. Sheppard
                                                 John R. Sheppard


                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 5th day of May, 2023, I electronically filed the foregoing

  Motion to Withdraw as Counsel with the Clerk of the Court using the CM/ECF system. I also certify

  that the foregoing document and the notice of electronic filing is being served this day on all counsel

  of record or pro se parties identified on the attached Service List in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

  for those counsel or parties who are not authorized to receive electronically, Notices of Electronic

  Filing.

                                                 /s/ John R. Sheppard
                                                 John R. Sheppard
                                                 Fla. Bar No. 867152



                                            SERVICE LIST

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